                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 1 of 10
                                                                     United States Bankruptcy Court
                                                                         Eastern District of Arkansas
              Lawrence Hubbert
  In re       Frances Hubbert                                                                                      Case No.
                                                                                        Debtor(s)                  Chapter     13




                                                               Arkansas Chapter 13 Plan
                                                                            (Local Form 13-1)


 Original Plan                       Amended Plan                     For an amended plan, all applicable provisions must be repeated from the
                                                                      previous plan(s). Provisions may not be incorporated by reference from
                                                                      previously filed plan(s).

                                                                      List below the sections of the plan that have been changed:


                                                                      State the reason(s) for the amended plan, including any changes of circumstances
                                                                      below. If creditors are to be added, please complete Addendum A as well as file any
                                                                      appropriate amended schedules.

                                                                      The Amended Plan is filed:       Before confirmation
                                                                                                       After confirmation

Part 1: Notices
To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form
                           does not indicate that the option is appropriate in your circumstances. Plans that do not comply with local
                           rules and judicial rulings may not be confirmable.

                           Original plans and amended plans must have matrix(ces) attached or a separate certificate of service should
                           be filed to reflect service in compliance Fed. R. Bankr. P. 2002.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
                           read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. If you oppose the plan’s treatment of your claim or any provision of this
                           plan, you or your attorney must file a written objection to confirmation with the United States Bankruptcy Court
                           either electronically (if filer is approved for electronic filing) or at the following addresses:

                                  For Eastern District cases (Batesville, Helena, Jonesboro, Little Rock, or Pine Bluff Divisions): United States
                                  Bankruptcy Court, 300 West 2nd Street, Little Rock, AR 72201

                                  For Western District cases (El Dorado, Fayetteville, Fort Smith, Harrison, Hot Springs, or Texarkana
                                  Divisions): United States Bankruptcy Court, 35 E. Mountain Street, Fayetteville, AR 72701

                           The objection should be filed consistent with the following timelines:

                               Original plan filed at the time the petition is filed: Within 14 days after the 341(a) meeting of creditors is
                                concluded.

                               Original plan filed after the petition is filed or amended plan (only if filed prior to the 341(a) meeting):
                                Within the later of 14 days after the 341(a) meeting of creditors is concluded or 21 days after the filing of the
                                plan.

                               Amended plan: Within 21 days after the filing of the amended plan.
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 2 of 10
Debtor(s) Lawrence Hubbert
Frances Hubbert                                                                     Case No.


                           The court may confirm this plan without further notice if no objection to confirmation is timely filed.

The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the plan
includes each of the following items. If an item is checked as “Not included” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

 1.1       A limit on the amount of a secured claim, set out in Section 3.4, which may                          Included      Not included
           result in a partial payment or no payment at all to the secured creditor.
 1.2       Nonstandard plan provisions, set out in Part 8.                                                      Included      Not included

Part 2: Plan Payments and Length of Plan
2.1     The debtor(s) will make regular payments to the trustee as follows:
  Inapplicable portions below need not be completed or reproduced.

Original plan: The debtor(s) will pay $415.00 per month to the trustee. The plan length is 60 months.
        The following provision will apply if completed:

             Plan payments will change to $                          per month beginning on       .

             Plan payments will change to $ per month beginning on                                .
                     (Use additional lines as necessary)

The debtor(s) will pay all disposable income into the plan for not less than the required plan term, or the applicable commitment
period, if applicable, unless unsecured creditors are being paid in full (100%). If fewer than 60 months of payments are specified,
additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

2.2          Payments shall be made from future income in the following manner:

             Name of debtor Lawrence Hubbert
               Direct pay of entire plan payment or                           (portion of payment) per month.


                  Employer Withholding of $                            per month

                    Payment frequency: monthly,                          semi-monthly,         bi-weekly,   weekly,   Other
                    If other, please specify:
                     Employer name:
                     Address:

                     Phone:


             Name of debtor Frances Hubbert

                  Direct pay of entire plan payment or                        (portion of payment) per month.

                  Employer Withholding of $                            per month.

                    Payment frequency: monthly,                          semi-monthly,         bi-weekly,   weekly,   Other
                    If other, please specify:
                     Employer name:
Arkansas Plan Form - 8/18                                                                                                                    Page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 3 of 10
Debtor(s) Lawrence Hubbert
Frances Hubbert                                                                Case No.

                     Address:

                     Phone:


2.3          Income tax refunds.

      Check one.
            Debtor(s) will retain income tax refunds received during the plan term and have allocated the refunds in the budget.

                Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing
             the return and will turn over to the trustee all income tax refunds received during the plan term.

                Debtor(s) will treat income tax refunds as described below. The debtor(s) will supply the trustee with a copy of each
             income tax return filed during the plan term within 14 days of filing.



2.4          Additional payments.

      Check one.
            None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

                To fund the plan, debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe
             the source, estimated amount, and date of each anticipated payment.




Part 3: Treatment of Secured Claims
3.1          Adequate Protection Payments.
             Check one.
               None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

                The debtor(s)’ plan payment to the trustee will be allocated to pay adequate protection payments to secured creditors as
             indicated below. The trustee shall be authorized to disburse adequate protection payments upon the filing of an allowed claim
             by the creditor. Preconfirmation adequate protection payments will be made until the plan is confirmed. Postconfirmation
             adequate protection payments will be made until administrative fees are paid (including the initial attorney’s fee). Payment of
             adequate protection payments will be limited to funds available.

 Creditor and last 4 digits                         Collateral                     Monthly                  To be paid
 of account number                                                                 payment amount
 Cardinal CU                                        2006 BMW 750 178000 miles                       70.00     Preconfirmation
 0200
                                                                                                              Postconfirmation
 Wollemi Acquisitions LLC                           2015 Chrysler 200 107000                        83.50     Preconfirmation
                                                    miles
                                                                                                              Postconfirmation

3.2          Maintenance of payments and cure of default (long term-debts, including debts secured by real property that
             debtor(s) intend to retain).
             Check one.
               None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.



Arkansas Plan Form - 8/18                                                                                                             Page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 4 of 10
Debtor(s) Lawrence Hubbert
Frances Hubbert                                                                Case No.

3.3          Secured claims excluded from 11 U.S.C. § 506 (non-506 claims).

             Check one.
               None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

                  Claims listed in this subsection consist of debts that were:

             (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
             acquired for the personal use of the debtor(s) (“910 car claims”), or
             (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value
             (‘PMSI within one year”).

             The creditors below will retain their liens and secured claims will be paid in full under the plan at the monthly payment and
             interest at the rate stated below. Unless otherwise ordered by the court, the claim amounts listed on a filed and allowed proof
             of claim will control over any contrary amounts listed below, except as to value, interest rate and monthly payment.

 Creditor and     Collateral                               Purchase date    Debt/estimated    Value of            Interest rate        Monthly
 last 4 digits of                                                           claim             collateral                               payment
 account number

 Cardinal CU                  2006 BMW 750                 Opened 2/15/17          7,464.00            5,875.00 5.00%                              140.85
 0200                         178000 miles                 Last Active
                                                           2/08/19

3.4          Claims for which § 506 valuation is applicable. Request for valuation of security, payment of fully secured claims, and
             modification of undersecured claims.

             Check one.
               None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

             The remainder of this paragraph will be effective only if there is a check in the box “included” in § 1.1.

                The debtor(s) request that the court determine the value of the collateral securing the claims as listed below. For each
             nongovernmental secured claim listed below, the debtor(s) state that the value of the collateral securing the claim should be
             as set out in the column headed Value of collateral. For secured claims of governmental units, unless otherwise ordered by
             the court, the value of the collateral securing the claim listed in a proof of claim filed in accordance with the Bankruptcy
             Rules controls over any contrary amount listed below.

             Secured claims will be paid the lesser of the amount of the claim or the value of the collateral with interest at the rate stated
             below. The portion of any allowed claim that exceeds the value will be treated as an unsecured claim under Part 5 of this
             plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
             treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the claim
             amounts listed on a filed and allowed proof of claim will control over any contrary amount listed below, except as to value,
             interest rate and monthly payment.

             The holder of any claim listed below as having value in the column headed Value of collateral will retain the lien on the
             property interest of the debtor(s) or the estate(s) until the earlier of: (a) payment of the underlying debt determined under
             nonbankruptcy law, or (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and
             be released by the creditor.

 Creditor and     Collateral                               Purchase   Debt/estimated Value of          Interest     Monthly             Estimated
 last 4 digits of                                          date       claim          collateral        rate         payment             unsecured
 account number                                                                                                                         amount

 Wollemi                      2015 Chrysler                2015             20,731.71         8,850.00 5.00%                  167.01          11,881.71
 Acquisitions                 200 107000
 LLC                          miles
Arkansas Plan Form - 8/18                                                                                                                         Page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 5 of 10
Debtor(s) Lawrence Hubbert
Frances Hubbert                                                                   Case No.


3.5          Surrender of collateral.


                  None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.


3.6          Secured claims not provided treatment. In the event that a secured claim is filed and allowed that is not provided treatment
             in the plan, the trustee shall pay such creditor the claim amount without interest after this plan in all other respects has been
             completed.

Part 4: Treatment of Fees and Priority Claims
4.1          General.
             Trustee’s fees and all allowed priority claims, including domestic support obligations, will be paid in full without postpetition
             interest.

4.2          Trustee’s fees.

             The trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney’s fees.
             The attorney’s fee is subject to approval of the court by separate application. The following has been paid or will be paid if
             approved by the court:

                            Amount paid to attorney prior to filing:          $      3.00
                            Amount to be paid by the Trustee:                 $      3,497.00
                            Total fee requested:                              $      3,500.00

             Upon confirmation, the attorney shall receive an initial fee as provided in the application and approved by the court from
             funds paid by the debtor(s), after administrative costs have been paid. The remaining fee will be paid at the percentage rate of
             the total disbursed to creditors each month provided in the application approved by the court.

                           The initial fee and percentage rate requested in the application are $   1,200.00   and   25.00   %, respectively.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
               None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

           Filed and allowed priority claims (usually tax claims), including without limitation, the following listed below, will be
        paid in full in accordance with 11 U.S.C. § 1322(a)(2), unless otherwise indicated. For claims filed by governmental units,
        the categorization of the claim by the creditor (secured, priority, nonpriority unsecured) and amounts shall control over any
        contrary amounts unless otherwise ordered by the court.
 Creditor                             Nature of claim (if taxes, specify type and           Estimated claim amount
                                      years)
  Internal Revenue Service                               Federal Income Tax                                                                    0.00

4.5          Domestic support obligations.

             Check one.
               None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§ 101(14A) and
1302(b)(6). ***If joint debtors, indicate which debtor has a domestic support obligation.***


Arkansas Plan Form - 8/18                                                                                                                 Page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 6 of 10
Debtor(s) Lawrence Hubbert
Frances Hubbert                                                                  Case No.

 Name and address of holder                              Paid to                                           Name of debtor obligated
  Ar Child Support Enf                                     Holder                                                                     Frances Hubbert
 Debtor is current. on-going                               Governmental unit, below                                                   Frances Hubbert
 payments.

 Recipient:
 Kevin Bryant
 207 Frank T. Benton St.
 Lonoke, AR 72086

 Ar Child Support Enf                                        Holder                                                                 Lawrence Hubbert
 Debtor is current. On-going                                 Governmental unit, below                                               Lawrence Hubbert
 monthly payment.

 Recipient:
 Tana Williams
 2618 S Spring St.
 Little Rock, AR 72206

The following domestic support obligation claims are assigned to, owed to, or recoverable by a governmental unit.

 Name and address of the                                 Holder of the domestic support obligation         Name of debtor obligated
 governmental unit
  Ar Child Support Enf                                   AR Office of Child Support Enforcement                                       Frances Hubbert
 Debtor is current. on-going
 payments.

 Recipient:
 Kevin Bryant
 207 Frank T. Benton St.
 Lonoke, AR 72086

 Ar Child Support Enf                                    AR Office of Child Support Enforcement                                     Lawrence Hubbert
 Debtor is current. On-going
 monthly payment.

 Recipient:
 Tana Williams
 2618 S Spring St.
 Little Rock, AR 72206

             Continuing domestic support obligation payment.

                  The regular monthly support payment shall be paid by the debtor(s) directly and is included on Schedules I or J.

                 The regular domestic support obligation monthly payment of $                    shall be paid by the trustee as a continuing debt.

             Domestic support obligation arrearage payment.

                The domestic support obligation arrearage claim will be paid by the trustee as listed below. Unless otherwise ordered by
             the court, the arrearage claim amount listed on the filed and allowed proof of claim will control over the total estimated
             arrearage amount listed below.

 Name and address of creditor                                                           Total estimated arrearage           Monthly arrearage
                                                                                        amount                              payment
  -NONE-



Part 5: Treatment of Nonpriority Unsecured Claims
Arkansas Plan Form - 8/18                                                                                                                         Page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 7 of 10
Debtor(s) Lawrence Hubbert
Frances Hubbert                                                            Case No.


5.1          Nonpriority unsecured claims.
             Allowed nonpriority unsecured claims shall be paid at least as much as they would receive if the debtor(s) filed a Chapter 7
             case. Allowed nonpriority unsecured claims shall be paid in full (100%) unless a different treatment is indicated
             below. For above median income debtor(s), the distribution to unsecured creditors includes any disposable income pool
             (monthly disposable income times 60 months) from Form 122C-2, unless the debtor(s) are unable to meet the disposable
             income pool based on the following circumstances:

             Check one, if applicable
                 A PRORATA dividend, including disposable income pool amounts, if applicable, from funds remaining after payment of
             all other classes of claims; or

                 Other, Please specifiy

5.2          Special nonpriority unsecured claims and other separately classified nonpriority unsecured claims.

             Check one.
               None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.


5.3          Maintenance of payments and cure of any default on nonpriority unsecured claims.

             Check one.
               None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


Part 6: Contracts, Leases, Sales and Postpetition Claims
6.1          Executory Contracts and Unexpired Leases.

             Check one.
               None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

        The executory contracts and unexpired leases listed below are assumed or rejected as indicated.
           Assumed items. The following executory contracts and unexpired leases are assumed, and payments due after the filing of
        the case will be paid directly by debtor(s), or by the trustee, as set forth below. Debtor(s) propose to cure any default by
        paying the arrearage on the assumed leases or contracts in the amount listed on the filed and allowed proof of claim, if
        contrary to the amount listed below.
 Creditor          Description of       Payment to be       Payment               Number of         Arrearage           Monthly
                   contract or          paid by             amount                remaining         amount              arrearage
                   property                                                       payments                              payment

 Danny                        Month-to-month                   Debtor(s)        750.00 60                            0.00                 0.00
 Whitehurst                   rent on                          Trustee
                              residence

                Rejected items. The debtor(s) reject the following executory contracts or unexpired leases. The debtor(s) request that
             upon confirmation of this plan, the stay under 11 U.S.C. §§ 362(a) and 1301(a) be terminated as to the property only. No
             further payments are to be made to the creditor on the contract or lease. However, the creditor may file a claim for the
             deficiency and will be treated as a nonpriority unsecured creditor.

 Creditor and last 4 digits of account number                                  Description of contract or property
 -NONE-


6.2          Sale of assets.
Arkansas Plan Form - 8/18                                                                                                            Page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 8 of 10
Debtor(s) Lawrence Hubbert
Frances Hubbert                                                      Case No.


             Check one.
               None. If “None” is checked, the rest of § 6.2 need not be completed or reproduced.


6.3          Claims not to be paid by the trustee.

             Check one.
               None. If “None” is checked, the rest of § 6.3 need not be completed or reproduced.


6.4          Postpetition claims.

                 None. If “None” is checked, the rest of § 6.4 need not be completed or reproduced.

                Postpetition claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6) may be added to the plan by the debtor(s) and, if the
             creditor elects to file a proof of claim with respect to the postpetition claim, the claim may be treated as though the claims
             arose before the commencement of the case, to be paid in full or in part through the plan. Upon completion of the case, any
             unpaid balance of such claim may be subject to discharge.

Part 7: Vesting of Property of the Estate
7.1          Property of the estate will vest in the debtor(s) upon:

             Check the applicable box.

                 plan confirmation

                  entry of discharge

                 other:

Part 8: Nonstandard Plan Provisions

                  None. If “None” is checked, the rest of § 6.4 need not be completed or reproduced

Part 9: Signatures
             By filing this document, the attorney for the debtor(s) or the debtor(s) themselves, if not represented by an attorney,
             certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in
             plan form used in the Eastern and Western Districts of Arkansas, other than any nonstandard provisions included in
             Part 8.


                /s/ Wm. Marshall Hubbard                                                               Date March 27, 2019
                Wm. Marshall Hubbard
                Signature of Attorney for Debtor(s)

                /s/ Lawrence Hubbert                                                                   Date March 27, 2019
                Lawrence Hubbert
                /s/ Frances Hubbert                                                                    Date March 27, 2019
                Frances Hubbert
                Signature(s) of Debtor(s)
                (required if not represented by an attorney;
                otherwise optional)

Arkansas Plan Form - 8/18                                                                                                              Page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
                4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 9 of 10
Debtor(s) Lawrence Hubbert
Frances Hubbert                                                                  Case No.

                                                                     Addendum A - For Amended Plans

                                          Listing of Additional Creditors and Claims for Plan Purposes

Note: While additional creditors may be listed on Addendum A, the debtor(s) also must file amended schedules as appropriate.

A.1          Prepetition Nonpriority Unsecured Claims

             The following are creditors with prepetition nonpriority unsecured claims that are added to the plan. These creditors will be
             provided treatment as described in Part 5.1 of the plan.

 Name and address of creditor Last four digits of account                            Nature of debt and date     Amount of debt
                              number                                                 incurred
  -NONE-



A.2          Postpetition Nonpriority Unsecured Claims

             The following are creditors with postpetition nonpriority unsecured claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6) that
             are added to the plan by the debtor(s). The creditors listed below are entitled to participate in the debtor(s)’ bankruptcy case
             at the election of the creditor.

             A creditor may elect to participate in the plan by filing a proof of claim for the postpetition claim. The claim will be
             treated as though the claim arose before the commencement of the case and will be provided treatment as described
             in Part 5.1 of the plan. Upon completion of the plan and case, any unpaid balance of such claim may be subject to
             discharge.


 Name and address of creditor Last four digits of account                            Nature of debt and Amount of debt   Approval to incur
                              number                                                 date incurred                       obtained from
                                                                                                                         trustee or court
  -NONE-                                                                                                                  Yes
                                                                                                                          No




Arkansas Plan Form - 8/18                                                                                                                Page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
 4:19-bk-11676 Doc#: 2 Filed: 03/27/19 Entered: 03/27/19 13:43:05 Page 10 of 10



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the attached Chapter 13
plan has been served by CM/ECF to the Trustee, Chapter 13 Standing Trustee; Charles W.
Tucker, Assistant United States Trustee; and served by U.S. Mail, postage prepaid to the
following on March 27, 2019:

Department of Finance and Administration            AR Department of Workforce Services
Legal Division                                      Legal Division
P.O. Box 1272                                       P.O. Box 2981
Little Rock, AR 72203                               Little Rock, AR 72203

Internal Revenue Service                            U.S. Attorney, Eastern District
P.O. Box 7346                                       P.O. Box 1229
Philadelphia, PA 19101-7346                         Little Rock, AR 72202

And to all creditors whose names and addresses are set forth on the following creditor matrix.

       The undersigned further certifies that a true and correct copy of the attached Chapter 13
Plan that requests a valuation determination pursuant to Section 3.4 was served by U.S. Mail,
postage prepaid, to the following as noted:

       Brett M. Samsky, CEO
       Wollemi Acquisitions, LLC
       2877 Paradise Rd 303
       Las Vegas, NV 89109
       By Certified Mail, Return Receipt Requested

                                                    Rainwater, Holt, & Sexton, P.A.
                                                    P.O. Box 17250
                                                    Little Rock, AR 72222
                                                    Tel: 501.868.2500
                                                    Fax: 501.868.2505
                                                    mhubbard@rainfirm.com

                                                    /s/Wm. Marshall Hubbard
                                                    Wm. Marshall Hubbard (Bar No. 2011285)
